189 F.2d 970
    Orville WOODLANDv.UNITED STATES of America.
    No. 4284.
    United States Court of Appeals Tenth Circuit.
    May 21, 1951.
    
      Dean N. Clayton, Ogden, Utah, for appellant.
      Scott M. Matheson, U.S. Atty. and Bryant H. Croft, Asst. U.S. Atty., Salt Lake City, Utah, for appellee.
      Before PHILLIPS, Chief Judge, and BRATTON and HUXMAN, Circuit Judges.
      PER CURIAM.
    
    
      1
      Appeal dismissed May 21, 1951, pursuant to stipulation of the parties.
    
    